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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 NATIONAL ASSOCIATION FOR GUN RIGHTS, and                      )
 SUSAN KAREN GOLDMAN,                                          )
                                                               )
          Plaintiffs,                                          )      Case No. 22-cv-04774
                                                               )
 v.                                                            )
                                                               )
                                                               )
 CITY OF HIGHLAND PARK, ILLINOIS,
                                                               )
                                                               )
          Defendant.

                            JOINDER IN REQUEST FOR RULING

         Plaintiffs join in Defendant’s request for a ruling on their pending motion for

preliminary injunction (ECF # 92).

Respectfully submitted this 13th day of June 2023.

/s/ Barry K. Arrington
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                                 CERTIFICATE OF SERVICE

I hereby certify that on June 13, 2023, I electronically filed a true and correct copy of the
foregoing with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing via email counsel of record:
                                                 1
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/s/ Barry K. Arrington
_______________________
Barry K. Arrington




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